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                             UNITED STATES DISTRICT COURT
  10                      SOUTHERN DISTRICT OF CALIFORNIA
  11

  12
       Ms. L. and Ms. C.,                                 Case No. 18-cv-00428-DMS-MDD

  13                        Petitioner-Plaintiff,
       v.
  14
                                                          Date Filed: July 3, 2018
       U.S. Immigration and Customs Enforcement
  15   (“ICE”); U.S. Department of Homeland Security
       (“DHS”); U.S. Customs and Border Protection
  16   (“CBP”); U.S. Citizenship and Immigration          SECOND AMENDED
       Services (“USCIS”); U.S. Department of Health      COMPLAINT
  17   and Human Services (“HHS”); Office of              FOR DECLARATORY AND
       Refugee Resettlement (“ORR”); Thomas               INJUNCTIVE RELIEF
  18   Homan, Acting Director of ICE; Greg
       Archambeault, San Diego Field Office Director,     CLASS ACTION
  19   ICE; Joseph Greene, San Diego Assistant Field
       Office Director, ICE; Adrian P. Macias, El Paso
  20   Field Director, ICE; Frances M. Jackson, El Paso
       Assistant Field Office Director, ICE; Kirstjen
  21   Nielsen, Secretary of DHS; Jefferson Beauregard
       Sessions III, Attorney General of the United
  22   States; L. Francis Cissna, Director of USCIS;
       Kevin K. McAleenan, Acting Commissioner of
  23   CBP; Pete Flores, San Diego Field Director,
       CBP; Hector A. Mancha Jr., El Paso Field
  24   Director, CBP; Alex Azar, Secretary of the
       Department of Health and Human Services;
  25   Scott Lloyd, Director of the Office of Refugee
       Resettlement,
  26

  27
                             Respondents-Defendants.

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   2                                    INTRODUCTION
   3         1.     This case challenges the United States government’s forcible
   4   separation of parents from their young children for no legitimate reason and
   5   notwithstanding the threat of irreparable damage that separation has been
   6   universally recognized to cause young children.
   7         2.     Plaintiff Ms. L. is the mother of a seven (7) year-old daughter, who
   8   was ripped away from her, and then sent halfway across the country to be detained
   9   alone. Plaintiff Ms. C. is the mother of a fourteen (14) year-old son, who was also
  10   forcibly separated from his mother and detained more than a thousand miles away.
  11         3.     Ms. L. and Ms. C. bring this action on behalf of themselves and
  12   thousands of other parents whom the government has forcibly separated from their
  13   children. Like Ms. L. and Ms. C., many of these individuals have fled persecution
  14   and are seeking asylum in the United States. Without any allegations of abuse,
  15   neglect, or parental unfitness, and with no hearings of any kind, the government is
  16   separating these families and detaining their young children, alone and frightened,
  17   in facilities often thousands of miles from their parents.
  18         4.     Forced separation from parents causes severe trauma to young
  19   children, especially those who are already traumatized and are fleeing persecution
  20   in their home countries. The resulting cognitive and emotional damage can be
  21   permanent.
  22         5.     Defendants have ample ways to keep Plaintiffs together with their
  23   children, as they have done for decades prior to their current practice. There are
  24   shelters that house families (including asylum-seekers) while they await the final
  25   adjudication of their immigration cases. If, however, the government lawfully
  26   continues detaining these parents and young children, it must at a minimum detain
  27   them together in one of its immigration family detention centers.
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   1         6.     The Due Process Clause of the Fifth Amendment does not permit the
   2   government to forcibly take young children from their parents, without justification
   3   or even a hearing. That separation also violates the asylum statutes, which
   4   guarantee a meaningful right to apply for asylum, and the Administrative Procedure
   5   Act (APA), which prohibits unlawful and arbitrary government action.
   6                                     JURISDICTION
   7         7.     This case arises under the Fifth Amendment to the United States
   8   Constitution, federal asylum statutes, and the APA. The court has jurisdiction under
   9   28 U.S.C. § 1331 (federal question jurisdiction); 28 U.S.C. § 2241 (habeas
  10   jurisdiction); and Art. I., § 9, cl. 2 of the United States Constitution (“Suspension
  11   Clause”). Plaintiffs are in custody for purposes of habeas jurisdiction.
  12                                          VENUE
  13         8.     Venue is proper under 28 U.S.C. § 1391(e) because Ms. L. was
  14   detained in this District when this action commenced, Defendants reside in this
  15   District, and a substantial portion of the relevant facts occurred within this District,
  16   including the Defendants’ implementation of their practice of separating immigrant
  17   parents from their children for no legitimate reason.
  18                                         PARTIES
  19         9.     Plaintiff Ms. L. is a citizen of the Democratic Republic of the Congo
  20   (the “Congo” or “DRC”). She is the mother of 7 year-old S.S.
  21         10.    Plaintiff Ms. C. is a citizen of Brazil. She is the mother of 14 year-old
  22   J.
  23         11.    Defendants U.S. Department of Homeland Security (“DHS”) has
  24   responsibility for enforcing the immigration laws of the United States.
  25         12.    Defendant U.S. Immigration and Customs Enforcement (“ICE”) is the
  26   sub-agency of DHS that is responsible for carrying out removal orders and
  27   overseeing immigration detention.
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   1         13.    Defendant U.S. Customs and Border Protection (“CBP”) is the sub-
   2   agency of DHS that is responsible for the initial processing and detention of
   3   noncitizens who are apprehended near the U.S. border.
   4         14.    Defendant U.S. Department of Health and Human Services (HHS) is a
   5   department of the executive branch of the U.S. government which has been
   6   delegated authority over “unaccompanied” noncitizen children.
   7         15.    Defendant Office of Refugee Resettlement (“ORR”) is the component
   8   of HHS which provides care of and placement for “unaccompanied” noncitizen
   9   children.
  10         16.    Defendant Thomas Homan is sued in his official capacity as the
  11   Director of ICE, and is a legal custodian of Plaintiffs.
  12         17.    Defendant Greg Archambeault is sued in his official capacity as the
  13   ICE San Diego Field Office Director, and is a legal custodian of Plaintiff Ms. L.
  14         18.    Defendant Joseph Greene is sued in his official capacity as the ICE
  15   San Diego Assistant Field Office Director for the Otay Mesa Detention Center, and
  16   is a legal custodian of Plaintiff Ms. L.
  17         19.    Defendant Adrian P. Macias is sued in his official capacity as the ICE
  18   El Paso Field Office Director, and is a legal custodian of Plaintiff Ms. C.
  19         20.    Defendant Frances M. Jackson is sued in his official capacity as the
  20   ICE El Paso Assistant Field Office Director for the West Texas Detention Facility,
  21   and is a legal custodian of Plaintiff Ms. C.
  22         21.    Defendant Kirstjen Nielsen, is sued in her official capacity as the
  23   Secretary of the Department of Homeland Security. In this capacity, she directs
  24   each of the component agencies within DHS: ICE, USCIS, and CBP. As a result,
  25   Respondent Nielsen has responsibility for the administration of the immigration
  26   laws pursuant to 8 U.S.C. § 1103, is empowered to grant asylum or other relief, and
  27   is a legal custodian of the Plaintiffs.
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   1         22.    Defendant Jefferson Beauregard Sessions III is sued in his official
   2   capacity as the Attorney General of the United States. In this capacity, he has
   3   responsibility for the administration of the immigration laws pursuant to 8 U.S.C. §
   4   1103, oversees the Executive Office of Immigration Review, is empowered to grant
   5   asylum or other relief, and is a legal custodian of the Plaintiffs.
   6         23.    Defendant L. Francis Cissna is sued in his official capacity as the
   7   Director of USCIS.
   8         24.    Defendant Kevin K. McAleenan is sued in his official capacity as the
   9   Acting Commissioner of CBP.
  10         25.    Defendant Pete Flores is sued in his official capacity as the San Diego
  11   Field Director of CBP.
  12         26.    Defendant Hector A. Mancha Jr. is sued in his official capacity as the
  13   El Paso Field Director of CBP.
  14         27.    Defendant Alex Azar is sued in his official capacity as the Secretary of
  15   the Department of Health and Human Services.
  16         28.    Defendant Scott Lloyd is sued in his official capacity as the Director of
  17   the Office of Refugee Resettlement.
  18                                           FACTS
  19         29.    Over the past year, the government has separated thousands of migrant
  20   families for no legitimate purpose. The government’s true purpose in separating
  21   these families was to deter future families from seeking refuge in the United States.
  22         30.    Many of these migrant families fled persecution and are seeking
  23   asylum. Although there are no allegations that the parents are unfit or abusing their
  24   children in any way, the government has forcibly separated them from their young
  25   children and detained the children, often far away, in facilities for “unaccompanied”
  26   minors.
  27         31.    There is overwhelming medical evidence that the separation of a
  28   young child from his or her parent will have a devastating negative impact on the
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   1   child’s well-being, especially where there are other traumatic factors at work, and
   2   that this damage can be permanent.
   3         32.    The American Association of Pediatrics has denounced the
   4   Administration’s practice of separating migrant children from their parents, noting
   5   that: “The psychological distress, anxiety, and depression associated with
   6   separation from a parent would follow the children well after the immediate period
   7   of separation—even after the eventual reunification with a parent or other family.”
   8         33.    Prior Administrations detained migrant families, but did not have a
   9   practice of forcibly separating fit parents from their young children.
  10         34.    There are non-governmental shelters that specialize in housing and
  11   caring for families—including asylum seeking families—while their immigration
  12   applications are adjudicated.
  13         35.    There are also government-operated family detention centers where
  14   parents can be housed together with their children, should the government lawfully
  15   decide not to release them. The government previously detained, and continues to
  16   detain, numerous family units at those facilities.
  17         36.    In April 2018, the New York Times reported that more than “700
  18   children have been taken from adults claiming to be their parents since October [of
  19   2016], including more than 100 children under the age of 4.” Caitlin Dickerson,
  20   Hundreds of Children Have Been Taken from Parents at U.S. Border, N.Y. Times,
  21   Apr. 20, 2018.
  22         37.    On May 7, 2018, Defendant Sessions announced “a new initiative” to
  23   refer “100 percent” of immigrants who cross the Southwest border for criminal
  24   immigration prosecutions, also known as the “zero-tolerance policy.” Defendant
  25   Sessions stated that as part of that prosecution, all parents who are prosecuted
  26   would be separated from their children. U.S. Dep’t of Justice, Attorney General
  27   Sessions Delivers Remarks to the Association of State Criminal Investigative
  28   Agencies 2018 Spring Conference (May 7, 2018). The purpose of this new policy
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   1   was to separate families in the hope that it would deter other families from seeking
   2   refuge in the United States.
   3           38.     At a Senate Judiciary Committee hearing in May, a deputy chief of
   4   Defendant U.S. Customs and Border Protection testified that between May 6 and
   5   May 19 alone, a total of 658 children were separated from their family members
   6   pursuant to this policy. The Washington Post reported that in the city of McAllen,
   7   Texas, 415 children were taken from their parents during a two week period. 1 And
   8   in June 2018, the Department of Homeland Security reported that in the six weeks
   9   between April 19 and May 31, the administration took almost 2,000 children away
  10   from their parents.2
  11           39.     Defendant Sessions and other government officials, including
  12   Defendant Nielsen, have repeatedly defended the separation of children from their
  13   parents in speeches and interviews with various media outlets. Among other
  14   justifications for the practice, they have stated that separating families would be a
  15   way to “discourage parents from bringing their children here illegally,” 3 and that it
  16   would help “deter more movement” to the United States by asylum seekers and
  17   other migrants. 4 Administration officials told the New York Times in May, “[t]he
  18   president and his aides in the White House had been pushing a family separation
  19   policy for weeks as a way of deterring families from trying to cross the border
  20   illegally.” 5
  21
       1
  22    https://www.washingtonpost.com/world/national-security/trumps-zero-tolerance-
       at-the-border-is-causing-child-shelters-to-fill-up-fast/2018/05/29/7aab0ae4-636b-
  23   11e8-a69c-b944de66d9e7_story.html?utm_term=.d52d94c37d05.
  24   2
           https://ca.reuters.com/article/topNews/idCAKBN1JB2SF-OCATP.
  25   3
           http://transcripts.cnn.com/TRANSCRIPTS/1801/16/cnr.04.html.
  26   4
        https://www.cnn.com/2017/03/06/politics/john-kelly-separating-children-from-
       parents-immigration-border/
  27
       5
        https://www.nytimes.com/2018/05/10/us/politics/trump-homeland-security-
  28   secretary-resign.html
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   1         40.    Even if the separated child is released from custody and placed in a
   2   community setting or foster care, the trauma of the ongoing separation continues.
   3         41.    By taking away their children, Defendants are coercing class members
   4   into giving up their claims for asylum and other legal protection. Numerous class
   5   members have been told by CBP and ICE agents that they will see their children
   6   again sooner if they withdraw their asylum applications and accept earlier
   7   deportation. 6
   8         42.    Many class members have given up their asylum claims and stipulated
   9   to removal as a way to be reunited with their children faster.
  10         43.    For class members who have not been coerced into giving up their
  11   asylum claims, separation from their children has made those applications much
  12   more difficult. Separation prevents parents from helping their children apply for
  13   asylum and navigate removal proceedings. Separation also makes it harder for
  14   parents to present facts involving their children which support their own asylum
  15   claims.
  16         44.    The trauma of separation also renders asylum-seeking class members
  17   too distraught to effectively pursue their asylum applications. See, e.g., Angelina
  18   Chapin, Separated Parents Are Failing Asylum Screenings Because They’re So
  19   Heartbroken, Huffington Post (June 30, 2018).7
  20
  21   6
         This practice has been widely reported. See, e.g., Dara Lind, Trump Will Reunite
  22   Separated Families—But Only if They Agree to Deportation, Vox.com (June 25,
       2018), https://www.vox.com/2018/6/25/17484042/children-parents-separate-
  23
       reunite-plan-trump; Jay Root & Shannon Najmabadi, Kids in Exchange for
  24   Deportation: Detained Migrants Say They Were Told They Could Get Kids Back on
       Way Out of U.S., Texas Tribune (June 24, 2018),
  25
       https://www.texastribune.org/2018/06/24/kids-exchange-deportation-migrants-
  26   claim-they-were-promised-they-could/?utm_campaign=trib-
       social&utm_medium=social&utm_source=twitter&utm_content=1529859032.
  27
       7
        https://www.huffingtonpost.com/entry/separated-parents-too-grief-stricken-to-
  28   seek-asylum-experts-say_us_5b379974e4b08c3a8f6ad5d9.
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   1         45.    Defendants have deported class members without their separated
   2   children. Their children are now stranded in the United States alone. Many of these
   3   parents are now struggling to make contact with their children, who are being
   4   detained thousands of miles away across multiple international borders. See Miriam
   5   Jordan, “I Can’t Go Without My Son,” a Mother Pleaded as She Was Deported to
   6   Guatemala, N.Y. Times (June 17, 2018). 8
   7         46.    On June 20, 2018, President Trump signed an Executive Order (“EO”)
   8   purporting to end certain family separations going forward.9 The EO directs DHS to
   9   “maintain custody of alien families during the pendency of any criminal improper
  10   entry or immigration proceedings.”
  11         47.    The EO directs DHS to separate families any time DHS determines
  12   that separation would protect “the child’s welfare.” It does not, however, set forth
  13   how that standard will be applied. In prior cases the government has applied that
  14   standard in a manner that is inconsistent with the child’s best interest, including in
  15   Ms. L’s case.
  16         48.    The EO makes no provision for reunifying the thousands of families
  17   who were separated prior to its issuance.
  18         49.    The EO makes no provision for returning separated children to parents
  19   who have been already been deported without their children.
  20                                   NAMED PLAINTIFFS
  21         50.       Ms. L. and her daughter S.S. are one of the many families that have
  22   recently been separated by the government.
  23
  24   8
         https://www.nytimes.com/2018/06/17/us/immigration-deported-parents.html. See
       also Nelson Renteria, El Salvador Demands U.S. Return Child Taken from
  25
       Deported Father, Reuters (June 21, 2018), https://www.reuters.com/article/us-usa-
  26   immigration-el-salvador/el-salvador-demands-us-return-child-taken-from-deported-
       father-idUSKBN1JH3ER.
  27
       9
        https://www.whitehouse.gov/presidential-actions/affording-congress-opportunity-
  28   address-family-separation/.
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   1         51.    Ms. L. and her daughter are seeking asylum in the United States.
   2         52.    Ms. L. is Catholic and sought shelter in a church until she was able to
   3   escape the Congo with S.S.
   4         53.    Upon reaching the United States, Ms. L. and S.S. presented themselves
   5   at the San Ysidro, California Port of Entry on November 1, 2017. Although their
   6   native language is Lingala, they were able to communicate to the border guards that
   7   they sought asylum.
   8         54.    Based on her expression of a fear of returning to the Congo, Ms. L.
   9   was referred for an initial screening before an asylum officer, called a “credible fear
  10   interview.” She subsequently passed the credible fear screening but, until March 6,
  11   2018, remained detained in the Otay Mesa Detention Center in the San Diego area.
  12         55.    On or about November 5, immigration officials forcibly separated
  13   then-6 year-old S.S. from her mother and sent S.S. to Chicago. There she was
  14   housed in a detention facility for “unaccompanied” minors run by the Office of
  15   Refugee Resettlement (ORR).
  16         56.    When S.S. was taken away from her mother, she was screaming and
  17   crying, pleading with guards not to take her away from her mother. While detained,
  18   Ms. L. spoke to her daughter approximately 6 times by phone, never by video. For
  19   months she was terrified that she would never see her daughter again. The few
  20   times Ms. L. was able to speak to her daughter on the phone, her daughter was
  21   crying and scared.
  22         57.    In December, S.S. turned 7 and spent her birthday in the Chicago
  23   facility, without her mother.
  24         58.    In detention, Ms. L. was distraught and depressed because of her
  25   separation from her daughter. As a result, she did not eat properly, lost weight, and
  26   was not sleeping due to worry and nightmares.
  27         59.      In one moment of extreme despair and confusion, Ms. L. told an
  28   immigration judge that she wanted to withdraw her application for asylum,
                                                  9
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   1   realizing her mistake only a few days later. She is seeking to reopen her case before
   2   the Board of Immigration Appeals.
   3            60.   The government had no legitimate interest in separating Ms. L. and her
   4   child.
   5            61.   There has been no evidence, or even accusation, that S.S. was abused
   6   or neglected by Ms. L.
   7            62.   There is no evidence that Ms. L. is an unfit parent or that she is not
   8   acting in the best interests of her child.
   9            63.   After Ms. L. filed this lawsuit and moved for a preliminary injunction,
  10   Defendants abruptly released her from custody on March 6, 2018, due to the filing
  11   of the lawsuit. Defendants informed her that she would be released mere hours in
  12   advance, with no arrangements for where she would stay. S.S. was released to Ms.
  13   L.’s custody several days later. Both are now pursuing their claims for legal
  14   protection.
  15            64.   Ms. C. and her 14 year-old son, J., are another one of the families who
  16   have been separated by the government. Like Ms. L. and her daughter, Ms. C. and
  17   her son are seeking asylum in the United States.
  18            65.   Ms. C. and J. fled Brazil and came to the United States to seek asylum.
  19   A few feet after Ms. C. entered the United States, a border guard approached her,
  20   and she explained that she was seeking asylum. Ms. C. subsequently passed a
  21   credible fear interview, and was put in removal proceedings, where she is applying
  22   for asylum.
  23            66.   Despite having communicated her fear of persecution to border guards,
  24   the government prosecuted Ms. C. for entering the country illegally, took her son J.
  25   away from her, and sent him to a facility for “unaccompanied” children in Chicago.
  26            67.   The government continued to separate Ms. C. from her son even after
  27   she completed serving her criminal misdemeanor sentence on September 22, 2017,
  28   and was sent to an immigration detention facility, the El Paso Processing Center. In
                                                    10
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   1   early January 2018, she was transferred again, to another immigration facility, the
   2   West Texas Detention Facility (also known as Sierra Blanca), but still was not
   3   reunited with her son. Even after Ms. C was released from immigration detention
   4   on April 5, 2018, the government did not reunify her with her son for another two
   5   months, until June 9.
   6         68.     While separated from J., Ms. C. was desperate to be reunited with him.
   7   She worried about him constantly and did not know when she would be able to see
   8   him. They spoke on the phone only a handful of times while they were separated by
   9   Defendants.
  10         69.     J. had a difficult time emotionally during the months he was separated
  11   from his mother.
  12         70.     The government had no legitimate interest for the separation of Ms. C.
  13   and her child.
  14         71.     There is no evidence, or even accusation, that J. was abused or
  15   neglected by Ms. C.
  16         72.     There is no evidence that Ms. C. is an unfit parent or that she is not
  17   acting in the best interests of her child.
  18                                 CLASS ALLEGATIONS
  19         73.     Plaintiffs bring this action under Federal Rule of Civil Procedure
  20   23(b)(2) on behalf of themselves and a nationwide class of all other persons
  21   similarly situated.
  22         74.     Plaintiffs seek to represent the following class:
  23
             All adult parents who enter the United States at or between designated ports
  24         of entry who (1) have been, are, or will be detained in immigration custody
             by the DHS, and (2) have a minor child who is or will be separated from
  25
             them by DHS and detained in ORR custody, ORR foster care, or DHS
  26         custody, absent a determination that the parent is unfit or presents a danger to
             the child.
  27
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   1            75.   Ms. L. and Ms. C. are each adequate representatives of the proposed
   2   class.
   3            76.   The proposed class satisfies the requirements of Rule 23(a)(1) because
   4   the class is so numerous that joinder of all members is impracticable. There are at a
   5   minimum hundreds of parents who fit within the class.
   6            77.   The class meets the commonality requirements of Federal Rule of
   7   Civil Procedure 23(a)(2). The members of the class are subject to a common
   8   practice: forcibly separating detained parents from their minor children absent any
   9   determination that the parent is unfit or presents a danger to the child. By definition,
  10   all class members have experienced that practice, and none has been given an
  11   adequate hearing regarding the separation. The lawsuit raises numerous questions
  12   of law common to members of the proposed class, including: whether Defendants’
  13   family separation practice violates class members’ substantive due process right to
  14   family integrity; whether the practice violates class members’ procedural due
  15   process rights; whether the practice violates the federal asylum statute; and whether
  16   these separations are unlawful or arbitrary and capricious under the APA.
  17            78.   The proposed class meets the typicality requirements of Federal Rule
  18   of Civil Procedure 23(a)(3), because the claims of the representative Plaintiffs are
  19   typical of the claims of the class. Ms. L., Ms. C., and the proposed class members
  20   are all individuals who have had or will have their children forcibly taken away
  21   from them despite there being no proven allegations of abuse, neglect, or any other
  22   danger or unfitness. Plaintiffs and the proposed class also share the same legal
  23   claims, which assert the same substantive and procedural rights under the Due
  24   Process Clause, the asylum statute, and the APA.
  25            79.   The proposed class meets the adequacy requirements of Federal Rule
  26   of Civil Procedure 23(a)(4). The representative Plaintiffs seek the same relief as the
  27   other members of the class—namely, an order that they be reunified with their
  28   children, whether through release or in family detention facilities. In defending their
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   1   own rights, Ms. L. and Ms. C. will defend the rights of all proposed class members
   2   fairly and adequately.
   3          80.   The proposed class is represented by counsel from the American Civil
   4   Liberties Union Immigrants’ Rights Project and the ACLU of San Diego and
   5   Imperial Counties. Counsel have extensive experience litigating class action
   6   lawsuits and other complex cases in federal court, including civil rights lawsuits on
   7   behalf of noncitizens.
   8          81.   The members of the class are readily ascertainable through
   9   Defendants’ records.
  10          82.   The proposed class also satisfies Federal Rule of Civil Procedure
  11   23(b)(2). Defendants have acted on grounds generally applicable to the class by
  12   unlawfully separating parents from their young children. Injunctive and declaratory
  13   relief is thus appropriate with respect to the class as a whole.
  14                                  CAUSES OF ACTION
  15                                         COUNT I
  16                  (Violation of Due Process: Right to Family Integrity)
  17          83.   All of the foregoing allegations are repeated and realleged as though
  18   fully set forth herein.
  19          84.   The Due Process Clause of the Fifth Amendment applies to all
  20   “persons” on United States soil and thus applies to Ms. L., Ms. C., their children
  21   S.S. and J., and all proposed class members.
  22          85.   Plaintiffs, their children, and all class members have liberty interests
  23   under the Due Process Clause in remaining together as families.
  24          86.   The separation of the class members from their children violates
  25   substantive due process because it furthers no legitimate purpose and was designed
  26   to deter.
  27          87.   The separation of the class members from their children also violates
  28   procedural due process because it was undertaken without any hearing.
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   1                                         COUNT II
   2         (Administrative Procedure Act: Arbitrary and Capricious Practice)
   3         88.    All of the foregoing allegations are repeated and realleged as though
   4   fully set forth herein.
   5         89.    The APA prohibits agency action that is arbitrary and capricious or
   6   violates a person’s legal or constitutional rights.
   7         90.    Defendants’ separation practice is final agency action for which there
   8   is no other adequate remedy in a court. Defendants’ decision to separate parents is
   9   not tentative or interlocutory, because Defendants have already separated thousands
  10   of families and continue to do so, and the policy was announced by high-level
  11   officials. And Defendants’ decision to separate gravely impacts class members’
  12   rights to remain together as families.
  13         91.    Defendants’ separation of Ms. L., Ms. C., and the other class members
  14   from their children without any explanation or legitimate justification is arbitrary
  15   and capricious and accordingly violates the APA. 5 U.S.C. § 706.
  16         92.    Among other things, Defendants failed to offer adequate reasons for
  17   adopting their unprecedented new separation practice; they failed to explain why
  18   they were not using alternatives to separation, including supervised release and
  19   family detention; and for parents like Ms. L., Defendants have never explained why
  20   they cannot verify parentage before imposing traumatic separation on both parent
  21   and child.
  22                                         COUNT III
  23    (Violation of Right to Seek Protection Under the Asylum and Withholding of
  24                Removal Statutes, and the Convention Against Torture)
  25         93.    All of the foregoing allegations are repeated and realleged as though
  26   fully set forth herein.
  27         94.    Under United States law, noncitizens with a well-founded fear of
  28   persecution shall have the opportunity to apply for asylum in the United States. 8
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   1   U.S.C. § 1158(a). In addition, noncitizens have a mandatory statutory entitlement to
   2   withholding of removal where they would face a probability of persecution if
   3   removed to their country of nationality, 8 U.S.C. § 1231(b)(3), or withholding or
   4   deferral of removal where they would face a probability of torture. Foreign Affairs
   5   Reform and Restructuring Act (“FARRA”), Pub. L. No. 105-277, Div. G.,
   6   Title XXII, § 2242, 112 Stat. 2681-822 (Oct. 21, 1998) (codified as Note to 8
   7   U.S.C.§ 1231).
   8         95.    Class members have a private right of action to challenge violations of
   9   their right to apply for asylum under § 1158(a). That right is not barred by 8 U.S.C.
  10   § 1158(d)(7), which applies to only certain procedural requirements set out in
  11   Section 1158(d).
  12         96.    Defendants’ separation of families violates federal law that provides
  13   for asylum and other protection from removal, as well as their due process right to
  14   seek such relief. Separation severely impedes their ability to pursue their asylum
  15   and other protection claims in a number of ways, including by denying them the
  16   ability to coordinate their applications with their children, present facts related to
  17   their children, and creating trauma that hinders their ability to navigate the complex
  18   process.
  19         97.    The government is also using the trauma of separation to coerce
  20   parents into giving up their asylum and protection claims in order to be reunited
  21   with their children.
  22                                 PRAYER FOR RELIEF
  23         Plaintiffs request that the Court enter a judgment against Defendants and
  24   award the following relief:
  25         A. Certify a class of all adult parents nationwide who enter the United States
  26   at or between designated ports of entry who (1) have been, are, or will be detained
  27   in immigration custody by the DHS, and (2) have a minor child who is or will be
  28   separated from them by DHS and detained in ORR custody, ORR foster care, or
                                                  15
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   1   DHS custody, absent a determination that the parent is unfit or presents a danger to
   2   the child.
   3         B. Name Ms. L. and Ms. C. as representatives of the class, and appoint
   4   Plaintiffs’ counsel as class counsel;
   5         C. Declare the separation of Ms. L., Ms. C., and the other class members
   6   from their children unlawful;
   7         D. Preliminarily and permanently enjoin Defendants from continuing to
   8   separate the class members from their children;
   9         E. Order Defendants either to release class members along with their
  10   children, or to detain them together in the same facility;
  11         F. Enjoin Defendants from removing any class members from the country
  12   who have received final removal orders until they are reunited with their children,
  13   unless the class members knowingly and voluntarily decide that they do not want
  14   their children removed with them;
  15         G. Enjoin Defendants from removing any class member who received a final
  16   removal order prior to the issuance of this Court’s preliminary injunction on June
  17   26, 2018, or prior to receiving notice of their rights under the injunction, until they
  18   have had an opportunity to consult with class counsel, or a delegate of class
  19   counsel, to insure that these class members have knowingly and voluntarily chosen
  20   to forego any further challenges to removal, rather than feeling coerced into doing
  21   so as a result of separation from their children.
  22         H. Require Defendants to pay reasonable attorneys’ fees and costs;
  23         I. Order all other relief that is just and proper.
  24
       Dated: July 3, 2018                         Respectfully Submitted,
  25
                                                   /s/Lee Gelernt
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